                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                               DOCKET NO. 5:09CR49

UNITED STATES OF AMERICA,                          )
                                                   )
                v.                                 )
                                                   )             PRELIMINARY
CHUCKY WILLIAM PRICE,                              )          ORDER OF FORFEITURE
              Defendant.                           )
                                                   )

       As a result of the guilty plea of the defendant to the violation stated in the First Superseding

Bill of Indictment, for which the United States sought forfeiture pursuant to 18 U.S.C. § 924(d), 28

U.S.C. § 2461(c), and 21 U.S.C. § 853, the defendant shall forfeit to the United States all property

constituting or derived from any proceeds the defendant obtained, directly or indirectly, as a result

of such violation; and/or all property used or intended to be used in any manner or part to commit

or facilitate the commission of the violation.

       The Court has determined, based on the First Superseding Bill of Indictment and the guilty

plea of the defendant, that the below-described property is subject to forfeiture pursuant to 18 U.S.C.

§ 924(d), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853 and that the government has established the

requisite nexus between such property and such violations and that the defendant had an interest in

the property.

       IT IS THEREFORE ORDERED:

       1. The following property is hereby forfeited to the United States for disposition according

to law, subject to the provisions of 21 U.S.C. § 853(n):

       - 13 firearms seized by law enforcement on September 8, 2009, at 3408 Bethany Church
       Road, Claremont, NC;
       - 60 firearms seized by law enforcement on Septemeber 29, 2009, at 533 Second Street

                                                  1




    Case 5:09-cr-00049-KDB-DCK              Document 185        Filed 07/27/10       Page 1 of 3
        Place SW, Conover, NC;
        - 2 firearms seized by law enforcement on October 26, 2009, in Huntersville,
        Mecklenburg County, NC, that were provided to, and used by, Terry Lee Adkins
        - firearms seized by law enforcement on November 24, 2009, from the residence utilized
        by David Mark Lowman.

Excepting, however, the following two firearms which are not herein forfeited:

        - Kel-Tec, PLR-16, .223 caliber pistol, s/n P1Y91, with ten (10) rounds of .223 caliber
        ammunition;
        - Taurus, model unknown, .45 caliber pistol, s/n NAM01229, with 41 rounds of .45
        caliber ammunition.

        2. The Attorney General (or a designee) is authorized to seize the forfeited property subject

to forfeiture; to conduct any discovery proper in identifying, locating, or disposing of the property;

and to commence proceedings that comply with any statutes governing third party rights. Fed. R.

Crim. P. 32.2(b)(3).

        3. Pursuant to 21 U.S.C. § 853(n)(1) and Standing Order of the Court 3:05MC302-C

(September 8, 2005), the United States shall post on an official government internet site

(www.forfeiture.gov), for at least 30 consecutive days, notice of this order and of its intent to dispose

of the property in such a manner as the United States may direct. The United States may also, to the

extent practicable, provide direct written notice to any person known to have alleged an interest in

property that is the subject of this order of forfeiture, as a substitute for published notice as to those

persons so notified.

        4. Any person, other than the defendant, having or claiming a legal interest in any of the

above-listed forfeited property may, within thirty days of the final publication of notice or of receipt

of actual notice, whichever is earlier, petition the Court for a hearing without a jury to adjudicate the

validity of the petitioner’s alleged interest in the property, and for an amendment of the order of

forfeiture pursuant to 21 U.S.C. § 853(n). The petition shall be signed by the petitioner under

                                                    2




    Case 5:09-cr-00049-KDB-DCK               Document 185         Filed 07/27/10       Page 2 of 3
penalty of perjury and shall set forth the nature and extent of the petitioner’s right, title or interest

in each of the forfeited properties; the time and circumstances of the petitioner’s acquisition of the

right, title, or interest in the property; and any additional facts supporting the petitioner’s claim and

the relief sought. 21 U.S.C. § 853(n)(2) and (3).

        5. After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(1)(A) and before

a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of Civil

Procedure upon a showing that such discovery is necessary or desirable to resolve factual issues.

        6. This Preliminary Order of Forfeiture shall become final as to the defendant at the time of

sentencing and shall be made part of the sentence and included in the judgement. If no third party

files a timely claim, this Order shall become the Final Order of Forfeiture, as provided by Fed. R.

Crim. P. 32.2(c)(2).

        7. Upon adjudication of third-party interests, if any, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2).

        8. The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

                                                    Signed: July 27, 2010




                                                    3




    Case 5:09-cr-00049-KDB-DCK              Document 185          Filed 07/27/10      Page 3 of 3
